11/25/2019              CASE 0:19-cv-02981-PAM-TNL Minnesota
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  JS 44 (Rev 09/10)


                                         UNITED STATES DISTRICT COURT
                                            DISTRICT OF MINNESOTA
                                                          CIVIL COVER SHEET
  This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in September
  1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. The information contained
  herein neither replaces nor supplements the filing and service of pleadings or other papers as required by law.

  Plaintiff(s):                                                                Defendant(s):
  First Listed Plaintiff:                                                      First Listed Defendant:
  Kimberly Brinkman ;                                                          Sprinkler Fitters Local 417 ;
  County of Residence: Outside This District                                   County of Residence: Outside This District

                                                                               Additional Defendants(s):
                                                                               Summit Fire Protection Co. ;
                                                                               Gilbert Mechanical Contractors, Inc. ;


  County Where Claim For Relief Arose: Hennepin County

  Plaintiff's Attorney(s):                                                     Defendant's Attorney(s):
  Lisa C Stratton (Kimberly Brinkman)
  Stratton Law Office
  310 4th Ave S Ste 5010, Suite 5010
  Minneapolis, Minnesota 55415
  Phone: 6122063774
  Fax:
  Email: lstratton@strattonlawoffice.onmicrosoft.com



  Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

  Citizenship of Principal Parties (Diversity Cases Only)
       Plaintiff: N/A
       Defendant: N/A


  Origin: 1. Original Proceeding

  Nature of Suit: 442 Employment
  Cause of Action: Sex discrimination and retaliation under the Civil Rights Act of 1964, 42 U.S.C. Sec. 2000e
  Requested in Complaint
       Class Action: Not filed as a Class Action
       Monetary Demand (in Thousands):
       Jury Demand: Yes
       Related Cases: Is NOT a refiling of a previously dismissed action



  Signature: s/Lisa C. Stratton
                                                                                                                                                 1/2
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  Date: 11/25/2019
         If any of this information is incorrect, please close this window and go back to the Civil Cover Sheet Input form to make the correction and generate the updated
         JS44. Once corrected, print this form, sign and date it, and submit it with your new civil action.




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